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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Miscellaneous Case No.

' Underlying Litigation:
IN RE NICHOLAS SCHMIDLE, Hood v. City of Chicago, et al.,
Case No. 16-cv-1970

United District Court for the
Northern District of Illinois

Non-Party Movant

NON-PARTY NICHOLAS SCHMIDLE’S MOTION
TO QUASH SUBPOENAS OR FOR A PROTECTIVE ORDER

Non-party Nicholas Schmidle, through undersigned counsel, moves this Court pursuant
to Federal Rules of Civil Procedure 26(d) and 45(c) to quash two deposition subpoenas issued by
Defendants in Tyrone Hood y. City of Chicago, et. al., No. 16-cv-1970 (N.D. Ill. filed Feb. 2,
2016), or in the alternative, for a protective order. The motion should be granted, and the
subpoenas quashed, because the subpoenas were either facially deficient or were not properly
served, impose an undue burden on Mr. Schmidle, and would require disclosure of privileged
material, as set forth more fully in the accompanying Memorandum of Law.

Pursuant to Local Rule 7(m), undersigned counsel conferred by telephone on July 3, 2019

with counsel for Defendants regarding this motion. This motion is opposed.
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Date: July 19, 2019

Respectfully submitted,

BALLARD SPAHR LLP

Libe—

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CERTIFICATE OF SERVICE

I hereby certify that, on this date, I caused movant’s MOTION TO QUASH OR FOR
PROTECTIVE ORDER to be filed and served electronically via the Court’s ECF System upon
counsel of record. In addition, I served by electronic mail and First Class mail the following:

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Dated: July 19, 2019 (Z ——“——
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